                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

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                                                 :   Chapter 11
In re:                                           :
                                                 :   Case No. 10-11255 (CSS)
S.S. BODY ARMOR I, Inc. et al.,                  :   Jointly Administered
                                                 :
                        Debtors.                 :   Hearing Date: TBD
                                                 :   Obj. Deadline: TBD
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   MOTION TO STAY DISTRIBUTIONS PENDING DETERMINATION OF APPEAL

        Carter Ledyard & Milburn LLP (“CLM”) hereby moves this Court for a stay

prohibiting distributions by the Post-Confirmation Debtor during the pendency of CLM’s

appeal of this Court’s order dated February 23, 2018 denying in part CLM’s motion to

establish a reserve of $25 million from the proceeds of an anticipated settlement and instead

establishing a reserve in the amount of $5 million (the “Reserve”). See Order Establishing

Reserve (the “Reserve Order”) [Dkt. No. 4049]. CLM hereby requests the stay to prevent the

Post-Confirmation Debtor from distributing all of the proceeds of the anticipated settlement

during the pendency of CLM’s appeal and effectively rendering CLM’s appeal moot.

                                    PRELIMINARY STATEMENT

        1.       There is no doubt that the Post-Confirmation Debtor will distribute any assets it

receives from the anticipate settlement “as quickly as possible.” 2/16/18 Bankr. Hearing Tr.,

50:23-24. Once those distributions are made, it will be impossible for CLM to claw-back any

funds to the extent CLM is awarded a fee in excess of the Reserve. Thus, unless the Post-

Confirmation Debtor is prevented from making any distributions during the pendency of CLM’s

appeal, the Reserve will effectively act as a cap on CLM’s fee award, and CLM’s appeal will be

rendered moot.
            2.    A stay is particularly warranted here where the Post-Confirmation Debtor’s

representations concerning the anticipated settlement have been discredited. Despite the Post-

Confirmation Debtor’s assertion that the anticipated settlement would involve no SOX 304

recovery, the SEC recently filed a status report expressly stating that the Brooks Estate has

agreed to reimburse the Post-Confirmation Debtor $142 million on account of the SOX 304

claim. A copy of the SEC’s status report dated March 19, 2018, is attached hereto as Exhibit A.

            3.    No creditor can reasonably contend that a brief stay would cause any meaningful

prejudice particularly as CLM intends to seek an expedited briefing schedule and hearing on its

appeal of the Reserve Order. For the reasons set forth below, the motion should be granted.

                                                       FACTS

            4.    It is undisputed that Cohen’s and CLM’s objection and appeal to the United States

District Court for the Second Circuit preserved the Post-Confirmation Debtor’s Sarbanes-Oxley

§ 304 (“SOX 304”) claim. 1 As a result, on December 3, 2015, this Court ruled that CLM and

Cohen were entitled to a fee in an undetermined amount from any funds the Post-Confirmation

Debtor may receive from the SOX 304 claim. See Order with Respect to Application of D. David

Cohen and Carter Ledyard & Milburn LLP for Fees and Expenses dated December 3, 2015 [Dkt.

No. 3624] (the “Fee Order”). 2 This Court retained jurisdiction and “completely reserved” the

question of the amount of fees to be awarded pending a SOX 304 recovery and renewed fee

application. 11/10/15 Bankr. Hearing Tr., p. 200:2–5.



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  See, e.g., 11/10/15 Bankr. Hearing Tr., pp. 191:22–192:8, 199:18–200:3 (Cohen and CLM preserved the Sarbanes-
Oxley claim of approximately $186 million and are entitled to a fee for their “terrific efforts” in the event there is a
recovery from that claim).
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 CLM has appealed the Fee Order because the order held that CLM is not entitled to a fee unless the Post-
Confirmation Debtor receives a SOX 340 recovery, which is contrary to established precedent. This appeal has been
fully briefed. CLM will seek to consolidate its appeal of the Fee Order with its appeal of the Reserve Order, and
have both argued on an expedited basis.
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            5.   Following the death of David H. Brooks in October 2016, the Securities and

Exchange Commission (“SEC”) resumed its prosecution of the SOX 304 claim against Brooks

(“Brooks”) in an action pending in the United States District Court of Florida captioned SEC v.

Estate of David H. Brooks, S.D. Fl. Case No. 07-61526-CIV (the “SEC Action”). The SEC

Action had been stayed pending the resolution of Brooks’ criminal appeals.

            6.   Following a December 2017 mediation that was ordered in, and occurred under

the auspices of, the SEC Action, the SEC and the Brooks Estate, along with certain other parties,

including the Post-Confirmation Debtor, reached an agreement on the principal terms of a

settlement (the “Settlement”) resolving, among other things, the SOX 304 claim and the claims

asserted in the civil forfeiture proceeding pending in the Eastern District of New York. After

learning about the Settlement, CLM reached out to the Post-Confirmation Debtor on several

occasions inquiring about the terms of the Settlement, including the amount the Post-

Confirmation Debtor and Class would receive as a result of the Settlement (the “Settlement

Funds”). CLM received little (and in some instances inconsistent) information.

            7.   On January 17, 2018, CLM moved to establish a temporary $25 million reserve to

ensure there were ample assets to satisfy the fees ultimately awarded to CLM. See Dkt. No.

4019. Although they implicitly conceded there would be no prejudice in granting CLM’s

request, the Post-Confirmation Debtor and Recovery Trustee nevertheless opposed CLM’s

motion.

            8.   In their opposition, the Post-Confirmation Debtor asserted that it would receive

$70 million as a result of the Settlement. See 2/16/18 Bankr. Hearing Tr., 16:6-7 (“Mr.

Kornfeld:. . . The settlement will be about a net $70 million to the debtor”). The Post-

Confirmation Debtor and Recovery Trustee also argued that the Settlement did not involve a


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recovery on account of the SOX 304 claim. Id. (“The payments the Debtor and the Class

Plaintiffs will receive . . . are attributable to the Civil Forfeiture Proceeding and the assets

restrained in connection with that proceeding, not the SOX 304 claim.”) (emphasis in the

original).

            9.    These assertions are contradicted by the status report filed by the SEC on March

19, 2018. See ¶¶ 12-13, infra.

            10.   A hearing on CLM’s motion took place on February 16, 2018. At the hearing, the

Court recognized that a reserve was necessary because the Post-Confirmation Debtor would

distribute whatever funds it received “as quickly as possible,” and absent a reserve, there would

be no money to satisfy CLM’s fee claim. 2/16/18 Bankr. Hearing Tr., 50:20-24 (“COURT: I

think it’s rather obvious that a fee reserve has to be set here. I have full belief that whatever

comes into the estate will be distributed to the appropriate parties as quickly as possible.”).

Nevertheless based on the Post-Confirmation Debtor’s characterization of the terms of the

Settlement – and assuming the recovery to the Post-Confirmation Debtor was $70 million – this

Court limited the reserve to $5 million. See, e.g., id., at 53:2-4.

            11.   On March 2, 2018, CLM filed a notice of appeal of the Reserve Order. Dkt. No.

4051 (the “Appeal”). While a briefing schedule has not yet been set, CLM will seek to have the

Appeal briefed and argued on an expedited basis.

            12.   On March 19, 2018, the SEC filed a status report in the SEC Action in which it

expressly stated that as a result of the settlement of the SEC Action the Brooks Estate “shall

reimburse SS Body Armor I, Inc. . . . $142,000,000 for bonuses and profits David Brooks

received from DHB stock sales, pursuant to Section 304(a) of the Sarbanes-Oxley Act of 2002

[15 U.S.C. § 7243(a)].” See, Ex. A, p. 2.


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            13.   The SEC’s status report also requests a brief 60-day extension of the stay issued

in the SEC Action to allow the parties to obtain the necessary approvals from the Eastern District

of New York and the Department of Justice. Id. at p. 3.

                                            ARGUMENT

            14.   This Court has authority to issue the requested stay. Pursuant to Article 12(e) of

the Second Joint Amended Plan of Liquidation Proposed by the Debtors and Official Committee

of Unsecured Creditors, this Court retained jurisdiction to “adjudicate, decide or resolve” issues

concerning any contested matters pending on November 23, 2015, i.e., the Effective Date. The

amount of CLM’s fee award was pending as of the Effective Date. See Fee Order, pp. 2-3

(reserving jurisdiction to determine and award fees to CLM). In addition, pursuant to 11 U.S.C. §

105(a), a bankruptcy court is authorized to issue any order, process, or judgment necessary to

carry out the provisions of the Bankruptcy Code.

            15.   Pursuant to Federal Rule of Bankruptcy Procedure 8007(a), this Court may issue a

stay pending appeal. Factors favoring a stay include (1) the likelihood of success on the merits,

(ii) whether the applicant will be irreparably injured absent a stay; (iii) whether the stay will

substantially injure the other parties; and (iv) whether a stay is in the public interest. Republic of

Philippines v. Westinghouse Elec. Corp., 949 F.2d 653, 658 (3rd Cir. 1991). No one factor is

dispositive. See, e.g., In re Calabria, 407 B.R. 671, 679 (Bankr. W.D. Pa. 2009).

            16.   A stay is necessary to prevent irreparable harm to CLM by ensuring that the

Reserve Order does not effectively cap CLM’s fee award before CLM has an opportunity to

litigate its appeal. Absent a stay, the Post-Confirmation Debtor will immediately distribute all-

but $5 million of the Settlement Funds. Should CLM be successful its appeals, its victory will be

a pyrrhic one as there will be insufficient funds to satisfy the fee award even before CLM has

had a fair opportunity to argue the factual and legal basis for its fee award.
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            17.   A stay is particularly appropriate here because there has been no discovery

regarding the terms of the Settlement, and the information that is publicly available is flatly

inconsistent with the characterization of the Settlement upon which the Reserve Order was

premised. Compare SEC Status Report, p. 2 (the Brooks Estate “shall reimburse SS Body Armor

I, Inc. . . . $142,000,000 . . . pursuant to Section 304(a) of the Sarbanes-Oxley Act of 2002 [15

U.S.C. § 7243(a)].”) and Post-Confirmation Debtor’s Opposition to Reserve Motion, ¶ 2 (“The

payments the Debtor and the Class Plaintiffs will receive . . . are attributable to the Civil

Forfeiture Proceeding and the assets restrained in connection with that proceeding, not the SOX

304 claim.”) (emphasis in the original).

            18.   Moreover, the Post-Confirmation Debtor stated that it would only be receiving

$70 million as a result of the Settlement. 2/16/18 Bankr. Hearing Tr., 16:6-7 (“Mr. Kornfeld: . . .

The settlement will be about a net $70 million to the debtor”). The $5 million Reserve was

calculated based on a $70 million recovery to the Post-Confirmation Debtor. See id. at 53:2-4.

The SEC’s status report makes clear, however, that the Post-Confirmation Debtor is entitled to

receive a $142 million SOX 304 recovery, which will be split with the Class pursuant to the

50/50 sharing agreement the Post-Confirmation Debtor reached with the Class. This sharing

agreement should have no effect on CLM’s fee award. Thus, even assuming CLM’s fee award is

properly measured by the amount of the Post-Confirmation Debtor’s SOX 304 recovery, the

proper base upon which to measure CLM’s fee claim is $142 million and not $70 million. This

change alone would require a doubling of the Reserve to $10 million and makes CLM’s appeal

likely to succeed. Absent the requested stay, this issue will be rendered moot before it can be

effectively litigated.




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            19.   A stay is also warranted because neither the Post-Confirmation Debtor nor its

constituents will be prejudiced by the requested temporary stay in distributions, particularly in

light of the fact that CLM will seek to have the Appeal heard on an expedited basis.

            20.   Finally, a stay would be in the public interest. A stay would ensure funds are

available to appropriately compensate CLM for its undisputed success in safeguarding the

integrity of the financial markets. See Cohen v. Viray, 622 F.3d 188, 195 (2d Cir. 2010). This

would incentivize other objectors to speak out to prevent collusive or unfair settlements of class

or derivative actions by exposing any “cozy deals,” and otherwise provide information and legal

arguments that enable courts to properly assess and evaluate a settlement. See In re Trans Union

Corp. Privacy Litig., 629 F.3d 741, 743 (7th Cir. 2011) (Posner, C.J.); Eubank, 753 F.3d at 720

(third parties “who smell a rat” can object to approval of the settlement).

                                           CONCLUSION

            21.   For the reasons set forth herein, CLM respectfully request that this Court (i) issue

an order staying any distributions during the pendency of CLM’s appeal, and (ii) grant any such

further relief that it deems just and proper.

Dated: Wilmington, Delaware
       March 27, 2018
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